Case 16-69785-wlh        Doc 85    Filed 11/03/17 Entered 11/03/17 11:47:20          Desc Main
                                   Document     Page 1 of 10




     IT IS ORDERED as set forth below:



     Date: November 2, 2017
                                                      _____________________________________
                                                                 Wendy L. Hagenau
                                                            U.S. Bankruptcy Court Judge

_______________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                       )       CASE NO. 16-69785-WLH
                                             )
T. BARRY GRAY,                               )       CHAPTER 7
                                             )
                       Debtor.               )       JUDGE WENDY L. HAGENAU
                                             )
                                             )
T. BARRY GRAY,                               )
                                             )
                       Movant,               )
                                             )
v.                                           )       CONTESTED MATTER
                                             )
TOREY MCCORMICK, LEE B.                      )
PERKINS, ESQ., AND STREETLANE                )
HOMES, LLC d/b/a RPM, Peachtree,             )
                                             )
                       Respondents.          )
                                             )

                   ORDER ON MOTION FOR PENALTIES, SANCTIONS,
                        DAMAGES AND PUNITIVE DAMAGES

         This matter is before the Court on the Debtor’s Motion for Penalties, Sanctions, Damages

and Punitive Damage (“Motion”) [Docket No. 72] which was heard, after notice, on October 26,

2017. The Debtor appeared pro se, Lee B. Perkins, Esq. appeared pro se, and Anita Kant


                                                 1
Case 16-69785-wlh      Doc 85    Filed 11/03/17 Entered 11/03/17 11:47:20           Desc Main
                                 Document     Page 2 of 10


appeared on behalf of Torey McCormick and Streetlane Homes, LLC (“Streetlane”).             No

appearance was made for RPM, Peachtree. The Court has jurisdiction of this matter pursuant to

28 U.S.C. §§ 1334 and 157 and this is a core matter pursuant to 28 U.S.C. § 157(b)(2)(O).

                                            FACTS

       The Debtor filed his petition under Chapter 7 of the United States Bankruptcy Code on

November 2, 2016. At the time, he and his wife were leasing a home and the monthly rental was

$1,100. In the bankruptcy case, the Debtor filed three motions for penalties, sanctions and

punitive damages. On December 2, 2016, the Debtor filed such a motion against Streetlane

[Docket No. 21]; on January 30, 2017, the Debtor filed such a motion against Jackson EMC

[Docket No. 44]; and also on January 30, 2017, the Debtor filed such a motion against RPM

[Docket No. 45]. Streetlane filed its motion for relief from stay on January 17, 2017 [Docket

No. 38] and was represented by Respondent Lee Perkins.

       On February 2, 2017, the Court held a hearing on the Debtor’s Motion for Penalties,

Sanctions and Punitive Damages against Streetlane, and Streetlane’s Motion for Relief from Stay

[Docket Nos. 21 and 38]. At that hearing, the Court heard the testimony of Torey McCormick, a

property manager with Streetlane, as well as from the Debtor and his wife. At the conclusion of

the hearing, the Court found that Streetlane had willfully violated the automatic stay multiple

times by arranging for the disconnection of the Debtor’s utility service and making numerous

personal visits to demand payment of rent and/or that the Debtor and his family immediately

vacate the premises. As a sanction, the Court entered an order on February 6, 2017 [Docket No.

52] which provided that Streetlane was to pay the Debtor $1,000 and that the Debtor could

remain in the property rent-free through February 28, 2017. The Court lifted the stay effective

March 1, 2017 for Streetlane to begin dispossessory proceedings if the Debtor and his family had

not moved [Docket No. 53]. Streetlane paid the $1,000 to the Debtor.


                                               2
Case 16-69785-wlh       Doc 85    Filed 11/03/17 Entered 11/03/17 11:47:20             Desc Main
                                  Document     Page 3 of 10


       Later, on April 6, 2017, the Court heard the Debtor’s motions against Jackson EMC and

RPM. As a result of the testimony presented at that hearing, the Court entered an order denying

the Debtor’s motion as to Jackson EMC [Docket No. 65] and granted the Debtor’s motion with

respect to RPM. In its order on the RPM motion [Docket No. 66], the Court found at least ten

(10) violations of the automatic stay by RPM and ordered payment to the Debtor of $2,100. The

Debtor was discharged on March 16, 2017, and his case was closed on August 18, 2017.

       The Debtor and his family did not vacate the premises by March 1 and Streetlane began

dispossessory proceedings. Debtor’s wife, Shanita Rene’e Gray, filed her own Chapter 7 case

(Case No. 17-56437-BEM) on April 6, 2017.             She immediately raised issues regarding

Streetlane’s eviction of her family. On April 27, 2017, Judge Ellis-Monro entered an order

denying Mrs. Gray’s motion to enforce the automatic stay. On May 31, 2017, Judge Ellis-Monro

entered an order denying Mrs. Gray’s motion to reconsider Judge Ellis-Monro’s prior order.

Mrs. Gray received a discharge on August 1, 2017, and her case was closed that day.

       This Motion was filed by the Debtor, Mr. Gray, on August 28, 2017, only 10 days after

his bankruptcy case was closed. At the hearing on this Motion on October 26, 2017, the Debtor

argued that various wrongful acts were taken in connection with the dispossessory action in

Gwinnett County and the actual removal of his and his family’s property. The Debtor also

claimed that Mr. McCormick and Mr. Perkins committed perjury when they represented at the

prior hearing (1) that RPM and Streetlane were unrelated companies and (2) that the prior issues

causing Streetlane to violate the automatic stay had been resolved by Streetlane. The Debtor also

asserted that Streetlane violated the discharge injunction by seeking to collect debt that had been

discharged by operation of law in his bankruptcy case and the rent which this Court had ruled

would not be payable and by reporting the Debtor’s failure to pay the discharged and released




                                                3
Case 16-69785-wlh       Doc 85    Filed 11/03/17 Entered 11/03/17 11:47:20             Desc Main
                                  Document     Page 4 of 10


rent on his credit reports. The Court heard the testimony of the Debtor and his wife, Mr. Perkins,

and Mr. McCormick.

       After hearing Mr. Perkins’ testimony, the Debtor agreed he had no basis to pursue his

Motion against Mr. Perkins. Mr. Perkins is therefore DISMISSED from the Motion.

       At the hearing, the Court announced to the Debtor that it did not have authority to address

any alleged violations of law that occurred in connection with the dispossessory and that any

such violations must be addressed through the appropriate Gwinnett court. As such, the Motion

is DENIED to the extent it seeks any penalties, damages or sanctions related to the dispossessory

or eviction.

       The Debtor believed Mr. McCormick committed perjury when he testified in February

that RPM and Streetlane are unrelated companies. Mr. McCormick reiterated that testimony at

the October 26 hearing. He explained further that neither RPM nor Streetlane were ever owners

of the property. The owner of the property leased by the Debtor and his family is another,

unrelated corporation which owns numerous rental homes in Atlanta and elsewhere in the

country. RPM was the property manager for the Debtor’s home through August 2016. At that

time, RPM was terminated as property manager by the owner and Streetlane became the new

property manager. Mr. McCormick testified there was no overlapping ownership or employees

between RPM and Streetlane as far as he was aware. He testified that RPM was based in

Indiana, while Streetlane was based in Texas, and that he had not seen employees from RPM

now working for Streetlane. The only relationship between the two entities, if one may call it a

relationship, is that each had been retained by the same owner at different points in time to

manage the rental of Debtor’s home (and other homes).            The Debtor also contends Mr.

McCormick committed perjury when he testified in February 2017 that actions had been taken to

correct the issues which led to Streetlane’s violation of the automatic stay; that entries had been


                                                4
Case 16-69785-wlh       Doc 85    Filed 11/03/17 Entered 11/03/17 11:47:20          Desc Main
                                  Document     Page 5 of 10


made in the “computer system” to insure that everyone working on a particular property would

know if the tenant was in a bankruptcy case. Because of the continued collection efforts against

the Debtor and his wife, the Debtor believes such testimony was false.

       After considering the testimony and credibility of Mr. McCormick, the Court believes

Mr. McCormick told the truth, at least as he understood it. Mr. McCormick is a property

manager for homes in the Atlanta area. He is not an officer or director of Streetlane or RPM or

the owner, and therefore his understanding is limited by his experience. Moreover, no evidence

was presented that Mr. McCormick’s understanding was incorrect. As the Court explained to the

Debtor at the hearing, the amount the Debtor and his wife owed for rent was not owed either to

RPM or to Streetlane but to the owner of the property. RPM and Streetlane were management

companies hired by the owner to collect funds on behalf of the owner. The Court also believes

Mr. McCormick’s testimony that he made efforts to rectify the problems which led to the

automatic stay violations. He testified that he made entries in the “computer system” reflecting

that Mr. Gray was in a bankruptcy case and that when he learned of the collection efforts

(discussed below) he verified the entry regarding Mr. Gray’s bankruptcy was still in the

computer records. Based on the foregoing, the Court finds Mr. McCormick did not commit

perjury and no damages, sanctions or penalties are due from him. The Motion is DENIED as to

Mr. McCormick.

       RPM did not appear at the hearing. Nevertheless, no evidence was presented of any

efforts by RPM to collect debts from the Debtor. The Debtor’s Motion with respect to RPM is,

therefore, DENIED.

       The evidence was undisputed, however, that Streetlane continued collection efforts

against the Debtor despite the granting of a discharge to the Debtor and the Court’s order

providing Streetlane could collect no rent from the Debtor through February 28, 2017. Streetlane


                                                5
Case 16-69785-wlh       Doc 85     Filed 11/03/17 Entered 11/03/17 11:47:20             Desc Main
                                   Document     Page 6 of 10


nevertheless retained Hunter Warfield to collect the debt owed to the owner of the Debtor’s

home. Hunter Warfield sent a demand letter to the Debtor on July 24, 2017 and again on

September 6, 2017. (The Debtor thinks there may have been at least one more letter but no

evidence was presented of another one.) Both of the demand letters demanded payment of

$14,385 in principal. Each demand letter stated clearly that it was an attempt to collect a debt.

The evidence showed that the $14,385 sum included amounts due to the landlord prior to the

Debtor’s petition date of November 2016 and post-petition amounts which were specifically

deemed satisfied by this Court’s order of February 6, 2017. Streetlane did not dispute these

facts.   Mr. McCormick testified he did not know how it happened that Streetlane began

collection efforts on this debt because he had made what he believed were the appropriate entries

in the “computer system” to indicate the Debtor’s bankruptcy filing. The Debtor also testified,

without dispute, that Streetlane reported to the credit reporting agencies that the entire $14,385

was due and unpaid. The Court’s review of the docket shows that notice of the Debtor’s

discharge was served on Streetlane on March 18, 2017, before the demand letters were sent.

                                              LAW

         In response to the Motion, Streetlane argued that the Debtor must first re-open the

bankruptcy case before pursuing the Motion. The Bankruptcy Code provides that, “A case may

be reopened in the court in which such case was closed to administer assets, to accord relief to

the debtor, or for other cause.” 11 U.S.C. § 350(b). Some commentators contend that reopening

a case to enforce the discharge injunction is not required because the administration of the case is

not necessary in order for the court to render a decision.          The commentators note that

determining the enforcement of the discharge injunction is within the court’s jurisdiction under

28 U.S.C. § 1334. 6 Collier on Bankruptcy ¶ 350.03[4] (Alan N. Resnick & Henry J. Sommer

eds., 16th ed. Supp. 2013). To the extent reopening this case is necessary in order to adjudicate


                                                 6
Case 16-69785-wlh       Doc 85    Filed 11/03/17 Entered 11/03/17 11:47:20            Desc Main
                                  Document     Page 7 of 10


the Debtor’s Motion, the Court construes the Debtor’s Motion requesting the damages as such a

motion to reopen. Reopening this case in order to address the Debtor’s issues is appropriate.

The case was only closed for 10 days before the Motion was filed and this current Motion is a

continuation of the pre-closing issues which the Court decided. The Court therefore, out of an

abundance of caution, reopens this bankruptcy case and waives any fee required for the

reopening. The Clerk is hereby directed to keep the case open until the Court orders

otherwise.

       “Section 524 of the bankruptcy code provides the debtor with a post-discharge injunction

against collection of debts discharged in bankruptcy, and thus embodies the ‘fresh start’ concept

of the bankruptcy code.” Hardy v. U.S. (In re Hardy), 97 F.3d 1384, 1388-89 (11th Cir. 1996).

“[Section 524] is intended to insure that once a debt is discharged, the debtor will not be

pressured in any way to repay it.” Green Point Credit, LLC v. McLean (In re McLean), 794 F.3d

1313, 1321 (11th Cir. 2015) (cites and emphasis omitted). See also Henriquez v. Green Tree

Svcing, LLC (In re Henriquez), 536 B.R. 341, 345 (Bankr. N.D. Ga. 2015). A creditor may be

sanctioned under the statutory contempt powers of 11 U.S.C. § 105 if the creditor willfully

violates the discharge injunction of Section 524 or any other order of the court. McLean, 794

F.3d at 1319; Jove Engineering Inc. v. I.R.S., 92 F.3d 1539, 1554 (11th Cir. 1996); Ginsberg v.

Evergreen Security, Ltd. (In re Evergreen Security, Ltd.), 570 F.3d 1257, 1273 (11th Cir. 2009).

A creditor willfully violates the discharge injunction if the creditor knows the discharge

injunction was invoked and intends the actions which violated the injunction. If the court finds

that the creditor received notice of the discharge in bankruptcy, then the debtor will have to

prove only that the creditor intended the actions which violated the injunction. Hardy, 97 F.3d at

1390; McLean, 794 F.3d at 1323.




                                                7
Case 16-69785-wlh       Doc 85    Filed 11/03/17 Entered 11/03/17 11:47:20             Desc Main
                                  Document     Page 8 of 10


       It is undisputed that Streetlane violated the discharge injunction on at least two occasions

by having its collection agency send letters to the Debtor demanding payment of the debt that

was discharged by law in his bankruptcy case. It is also undisputed that Streetlane violated this

Court’s order of February 6, 2017 by demanding payment of rent which the Court ordered could

not be collected. It is also undisputed that Streetlane violated the discharge injunction by

reporting to the credit reporting agencies that the Debtor still owed these sums, including the

sums which this Court ordered were not to be paid. There is also no doubt that Streetlane was

aware of the Debtor’s bankruptcy, and aware of the discharge. Streetlane had already been

sanctioned once for violating the automatic stay. Mr. McCormick appeared in this Court to

testify in February 2017 and Streetlane paid the sanctions that were ordered for violation of the

automatic stay. Streetlane was served with the notice of the Debtor’s discharge. So, not only did

Streetlane have notice of the Debtor’s bankruptcy but actual knowledge of the Debtor’s

bankruptcy.   Nevertheless, Streetlane violated not one but two orders of this Court:          the

discharge order and this Court’s order of February 6, 2017.

       Under Section 105, the Court has authority to award damages to the Debtor for these

discharge violations and contempt of the Court’s February 6, 2017 order. Such damages can

include compensatory damages and damages for emotional distress. McLean, 794 F.3d at 1325.

Here, the Debtor once again had to file the Motion and take a day off from work to appear before

the Court. Additionally, the Debtor testified that the erroneous information reported on the credit

reports was hindering his ability to obtain a lease of another home and that he, his wife and his

two children, one of whom is a special needs child, lived in a hotel for a month at the rate of

$450 per week and were now residing with family. The stress and distress of the family not

being able to obtain new housing due to the erroneous information provided by Streetlane was

established by the testimony of the Debtor and his wife by clear and convincing evidence. The


                                                8
Case 16-69785-wlh       Doc 85    Filed 11/03/17 Entered 11/03/17 11:47:20            Desc Main
                                  Document     Page 9 of 10


Debtor established by clear and convincing evidence both the willful violation of the discharge

injunction and this Court’s February 6, 2017 order and the damages suffered.

       The Court ordered at the hearing and hereby reiterates that the Debtor’s Motion for

damages is granted and Streetlane is directed to mark all sums otherwise owed by Mr. or Mrs.

Gray for the lease at issue satisfied and to report such satisfaction to the credit reporting

agencies. The Court notes that all rent owed by Mr. Gray through February 28, 2017 has already

been discharged or deemed satisfied by this Court’s order of February 6, 2017. All rent owed by

Mrs. Gray as of April 6, 2017 has also been discharged. The result of the Court’s order is the

satisfaction of additional non-discharged debt of approximately $4,400 plus any interest and fees

which Streetlane may otherwise have attempted to charge the Debtor and his wife. This is a fair

assessment of the actual damages suffered by the Debtor, including missed work, time in

prosecuting the Motion, the cost of living in a hotel, and including emotional distress damages.

The Court recognizes that Mr. and Mrs. Gray did not vacate the premises on March 1 when the

Court directed them to do so and that removing them from the premises has been challenging and

difficult. Nevertheless, none of that justifies the blatant and willful violation of the discharge

injunction and this Court’s order evidenced by Streetlane’s behavior.

                                   ### END OF ORDER ###




                                                9
Case 16-69785-wlh       Doc 85    Filed 11/03/17 Entered 11/03/17 11:47:20   Desc Main
                                 Document      Page 10 of 10


DISTRIBUTION LIST

T. Barry Gray
PO Box 2846
Norcross, GA 30091

Martha A. Miller
Chapter 7 Trustee
PO Box 5630
Atlanta, GA 31107

Mr. Torey McCormick, Property Manager
of Streetlane Homes, LLC
Email: TMcCormick@Streetlane.com

Lee B. Perkins
South Building, Suite 201
5180 Roswell Road
Atlanta, GA 30342

Streetlane Homes, LLC
900 Jackson Street, Suite 710
Dallas, TX 75202-2416

Streetlane Homes, LLC
70 Macon Street
McDonough, GA 30253

Streetlane Homes
d/b/a RPM, Peachtree
PO Box 2109
Woodstock, GA 30188

RPM, Peachtree
1895 Phoenix Blvd, Suite 112
Atlanta, GA 30349

Mr. Dane Hoffman
Email: dhoffman@streetlane.com

Mr. Brandon Benker
Email: Brandon@usrpm.com

Ms. Dorian LaFerrara
Email: dLaferrara@usrpm.com
Email: DorianLaFerrarra@mail.propertyware.com
Email: dorian@usrpm.com

Email: collections@usrpm.com


                                            10
